           Case 4:18-cr-06054-EFS                  ECF No. 245           filed 10/06/20         PageID.3797 Page 1 of 4
                                                                                                                    FILED IN THE
 AO 245E (Rev. 09/19) Judgment in a Criminal Case for Organizational Defendants                                 U.S. DISTRICT COURT
                      Sheet 1                                                                             EASTERN DISTRICT OF WASHINGTON




                                        UNITED STATES DISTRICT COURT Oct 06, 2020
                                                     Eastern District of Washington                             SEAN F. MCAVOY, CLERK




             UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                        v.                                                (For Organizational Defendants
                ZAIN RESEARCH LLC
                                                                          Case Number:        4:18-CR-06054-EFS-3
                                                                                                    John Gary Metro
                                                                                               Defendant Organization's Attorney




THE DEFENDANT ORGANIZATION:
 ☐ pleaded guilty to count(s)
       pleaded nolo contendere to count(s)
 ☐ which was accepted by the court.
   was found guilty on count(s) after a
 ☒ plea of not guilty.                                   1s and 2s

The organizational defendant is adjudicated guilty of these offenses:
 Title & Section               /             Nature of Offense                                                  Offense Ended           Count
  18 U.S.C. § 1349 - CONSPIRACY TO COMMIT WIRE FRAUD                                                               11/16/2018              1s
  18 U.S.C. § 1349 - CONSPIRACY TO COMMIT MAIL FRAUD                                                               11/16/2018              2s




         The defendant organization is sentenced as provided in pages 2 through 4 of this judgment.
 ☒ The defendant organization has been found not guilty on count(s)  3s – 47s
 ☐ Count(s)                                                      ☐ is ☐ are dismissed on the motion of the United States
      It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change of name,
principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material changes in economic
circumstances.

 Defendant Organization's
 Federal Employer I.D. No.                                               10/1/2020
                                                                         Date of Imposition of Judgment
 Defendant Organization's Principal Business Address:
 N/A




                                                                         Signature of Judge

 Defendant Organization's Mailing Address:                               The Honorable Edward F. Shea                  Judge, U.S. District Court
 N/A                                                                     Name and Title of Judge

                                                                         10/06/2020
                                                                         Date
           Case 4:18-cr-06054-EFS               ECF No. 245           filed 10/06/20   PageID.3798 Page 2 of 4
 AO 245E    (Rev. 09/19) Judgment in a Criminal Case for Organizational Defendants                              Judgment -- Page 2 of   4
                         Sheet 2B – Probation

 DEFENDANT ORGANIZATION: ZAIN RESEARCH LLC
 Case Number: 4:18-CR-06054-EFS-3


                                                          PROBATION
The defendant organization is hereby sentenced to probation for a term of: N/A; Organization no longer exist.
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    AO 245E    (Rev. 09/19) Judgment in a Criminal Case for Organizational Defendants                                        Judgment -- Page 3 of   4
                            Sheet 3 – Criminal Monetary Penalties

    DEFENDANT ORGANIZATION: ZAIN RESEARCH LLC
    Case Number: 4:18-CR-06054-EFS-3

                                           CRIMINAL MONETARY PENALTIES
      The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

                  Assessment                            Fine                                     Restitution
    TOTALS        $800.00                               $.00                                     $1,890,550.10

    ☐ The determination of restitution is deferred until      . An Amended Judgment in a Criminal Case (AO245C) will be
      entered after such determination.
      The defendant organization shall make restitution (including community restitution) to the following payees in the amount
    ☒listed below.

          If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee                                                          Total Loss*         Restitution Ordered Priority or Percentage

Pfizer                                                                 $658,513.77         $658,513.77
Braeburn                                                               $435,732.93         $435,732.93
Biorasi                                                                $739,984.20         $739,984.20
Medpace                                                                $46,988             $46,988
Finch Therapeutics                                                     $9,331.20           $9,331.20




    ☐ Restitution amount ordered pursuant to plea agreement            $

    ☐ The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid
         in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
         Sheet 4 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
    ☒ The court determined that the defendant organization does not have the ability to pay interest and it is ordered that:
      ☒ the interest requirement is waived for the       ☐ fine                             ☒ restitution
      ☐ the interest requirement for the                 ☐ fine                             ☐ restitution is modified as follows:


*   Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
            Case 4:18-cr-06054-EFS                     ECF No. 245              filed 10/06/20           PageID.3800 Page 4 of 4
 AO 245E      (Rev. 09/19) Judgment in a Criminal Case for Organizational Defendants                                                   Judgment -- Page 4 of 4
                           Sheet 8 – Reason for Amendment

 DEFENDANT ORGANIZATION: ZAIN RESEARCH LLC
 Case Number: 4:18-CR-06054-EFS-3

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant organization's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                         due immediately, balance due
   ☐         not later than                                                           , or
   ☐         in accordance with         ☐ C, ☐ D below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, ☒ F below);
 C ☐         Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                                     over a period of
                                   (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☒ Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S.
District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☒ Joint and Several1
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.

        Restitution: $1,890,550.10:

        Sami Anwar: 4:18-cr-06054-EFS-1
        Mid Columbia Research LLC: 4:18-cr-06054-EFS-2




 ☐ The defendant organization shall pay the cost of prosecution.
 ☐ The defendant organization shall pay the following court cost(s):
 ☐ The defendant organization shall forfeit the defendant organization's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
